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_IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

BERNIE CLEMENS and : CIVIL ACTION NO:
NICOLE CLEMENS, :
3:13 -CV-02447
Plaintiffs,
V.
Judge Malachy E. Mannion
NEW YORK CENTRAL MUTUAL :
FIRE INSURANCE COMPANY :
and/or NYCM INSURANCE GROUP :
and/or NYCM HOLDINGS, INC. — : ELECTRONICALLY FILED
Defendants.
JURY TRIAL DEMANDED

PLAINTIFFS’, BERNIE CLEMENS AND NICOLE CLEMENS, PRE-TRIAL
MEMORANDUM

Plaintiffs, Bernie Clemens and Nicole Clemens, by and through their
attorneys, the Pisanchyn Law Firm, and the undersigned counsel Michael J.
Pisanchyn, Jr., Esquire, and M. Lee Albright, Esquire, respectfully submit this Pre-
Trial Memorandum pursuant to L.R. 16.6 and represent as follows:

A. STATEMENT AS TO FEDERAL COURT JURISDICTION
This Honorable Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332.
B. STATEMENT OF FACTS AND CONTENTIONS AS TO LIABILITY

This is an Insurance Bad Faith case against Defendant, New York Central
Mutual Fire Insurance Company (hereinafter “NYCM”) in regard to the handling of
Plaintiffs’, Mr. Bernie Clemens, and his wife, Mrs. Nicole Clemens, underinsured

motorist claim.
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Plaintiffs are Bernie Clemens and Nicole Clemens. Both Plaintiffs and their minor
child have always resided in Pennsylvania. Bernie Clemens is currently a Federal
Prison Guard. At the time of this collision, Mr. Clemens was a passenger in a vehicle
which was owned, operated, and insured by another person, Timothy Kruger, who
was a named Insured through New York Central Mutual Insurance Company,
(hereinafter “NYCM”).

On August 26, 2009, Mr. Clemens was severely injured in the motor vehicle
collision. Within one (1) day after this collision, NYCM Insurance sent to Mr.
Clemens forms to fill out which included a claim for underinsurance as well as
authorization for NYCM Insurance to obtain all and any medical records,
employment records and the like. Mr. Clemens immediately filled out this
paperwork and authorizations and sent them to NYCM Insurance. A review of the
documents evidence that NYCM Insurance received these authorizations within 45
day from the very date of this collision.

In the meantime, Mr. Clemens and his family made a claim against the 3"
party Defendant who only had the state minimum worth of Insurance Coverage. This
amount was tendered quickly by that Insurance Company. Further, a claim for
underinsurance was made to NYCM Insurance for underinsurance motorist benefits.

NYCM Insurance acknowledges receipt of this underinsurance claim.
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NYCM Insurance’s Insured, Mr. Clemens requested consent to settle and
waiver of subrogation. A review of the documentation submitted in support of
Plaintiff's opposition for summary judgment demonstrates that NYCM Insurance
took numerous months before it consented and waived subrogation. In fact, Plaintiff
had to send numerous letters including a Daley-Sand letter which delayed the
Clemens’ family from receiving that 3" party settlement proceeds in their time of
need.

Thereafter, despite NYCM Insurance having all of the medical and wage
information in its possession and in fact Plaintiff sending to NYCM Insurance copies
of all documentation’, NYCM Insurance began to demand authorizations be signed.
In this regard on too numerous occasions to count Plaintiff requested that NYCM
Insurance send to its Insured all and any authorizations it required signed. A review
of the documents/letter submitted to This Court demonstrates that NYCM Insurance
refused to send authorizations. NYCM Insurance continually demanded
authorizations be signed but refused to send the authorizations themselves.

NYCM Insurance then demanded its Insured submit to a Statement under
Oath (herein after SUO). Plaintiffs on numerous occasions advised NYCM
Insurance that they would submit to a SUO. As demonstrated by the correspondence

submitted with this opposition, NYCM Insurance however, unilaterally scheduled

 

' See Plaintiffs’ first demand to NYCM Insurance
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this this SUO without first contacting it’s Insured to find Mr. Clemens and its
representatives availability. Even further, despite it being acknowledged by NYCM
Insurance of other available means (phone, having a representative go to the Insured,
video-conference etc...), NYCM stated it would only conduct the SUO in New York
State. As per the medical records and NYCM Insurance’s acknowledgment, it knew
when it was requested its Insured travel over two (2) to Three (3) hours for this
SUO, that its Insured was experiencing pain and injuries arising from this collision
and would have trouble traveling this length. The correspondence submitted to This
Court demonstrate on numerous occasions, NYCM Insurance’s Insured stated that
he would in fact submit to a SUO that would take place at a reasonable time and
reasonable distance.

NYCM Insurance eventually began to investigate this incident. When it did,
the NYCM Insurance adjuster’s notes demonstrate the lack of fair dealing as well as
inappropriate and unreasonable claims handling. In this regard, NYCM Insurance
had this matter reserved at one half of its limits. A review of the documentation
demonstrates at no time up until the matter was resolved five (5) years later had it
ever offered anywhere near this amount.

A review of the adjuster’s notes states that NYCM Insurance began an

investigation to determine if its Insured was wearing a seatbelt at the time of this
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collision’. According to the Insurance Adjuster, NYCM Insurance stated that it
would “not reward” its Insured for not wearing a seatbelt and as such would not
offer an amount that would informally resolve this underinsurance case. In fact,
during the Insurance Adjuster’s deposition, (also attached as an exhibit to this
opposition of summary judgment), NYCM Insurance adjuster states that but for this
“seatbelt defense,” NYCM Insurance would have tendered its underinsurance limits.
Importantly, when NYCM 30 (b)(6) Corporate Designee deposition took place close
to five (5) years after this collision, (also submitted to This Court; See Catalano
Deposition), NYCM for the first time was made aware that the “seatbelt defense”
was inapplicable because in Pennsylvania whether Plaintiff was or was not wearing
his seatbelt is inadmissible in a civil trial as per statutory language.

Further, NYCM through its Corporate Designee admitted that within days
after this incident NYCM in fact did have authorization from its Insured to get all
and any records it so chose. A review of the NYCM Insurance Supervisor and who
is also designated the Corporate Designee to speak on behalf of NYCM Insurance
demonstrates that 1) at the time of its evaluation of Clemens’ Claim, NYCM
Insurance had absolutely no written policies or procedures in reference to how its

Insurance Adjusters were to handle claims’; despite there being a policy that the first

 

* The documentation demonstrates that there was never any evidence that Mr. Clemens was not wearing
his seatbelt despite NYCM Insurance Company's attempt to prove otherwise.

° NYCM admits that later it did create written policies and procedures called “Best Practices;” Plaintiff
believes that looking at the Best Practices that were later enacted by NYCM, NYCM Insurance violated its
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party PIP file not be reviewed by the NYCM Insurance underinsurance adjuster; it
was (See Adjuster Drovek’s deposition testimony“); despite NYCM Insurance
requiring an out of State claim be reviewed and documented by a Supervisor this
was not done. A review of the deposition transcripts will demonstrate that these are
Just some issues touched on in reference to NYCM’s bad faith action and in-actions
towards its Insured.

Another issue is that the Insurance Contract/Policy in and of itself stated that
the underinsured motorist matter must be arbitrated. In this regard, Plaintiff on
numerous occasions demanded that NYCM Insurance arbitrate the underinsurance
case. NYCM Insurance, without further explanation, wrote to Plaintiff and advised
that the arbitration “was a nullity.” As such, Plaintiff was forced to file suit, litigate
this matter, and expend additional sums of money it otherwise would not have
should this matter have been arbitrated as per the Insurance Policy.

Through discovery, Plaintiff has learned that NYCM Insurance has a “bonus
structure” for its Insurance Adjusters. Further, that this bonus structure is “tied” to
how much money its Adjusters pay to Insureds such as Plaintiff Clemens. In the past
few years when this specific claim was being handled, NYCM Insurance’s profits

were at an all-time low and it let its employees know by not giving them bonuses.

 

own policies and procedures in handling Plaintiffs’ claim. Even more, NYCM Insurance did not send these
documents despite them being requested until two (2) days before the Corporate Designee’s deposition
and years after they were initially requested by Plaintiffs.

* This adjuster within his deposition testimony admits that he, in essence, had to many cases to handle
and could not give the proper attention to these claims.
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This in turn encouraged NYCM Insurance Adjusters to pay less for valid claims such
as Mr. Clemens so that they would have the opportunity to receive a “bonus” in their
own checks at the end of the year.

The correspondence further evidences that NYCM required its Insured to
resolve the bad faith portion of this case if they wanted to resolve the underinsurance
portion of this case. NYCM Insurance has also represented that there is only $35,000
in coverage (in Pennsylvania the limits would be in addition to the 3" party limits
not reduced by them) since its Insured’s already recovered $15,000 when in fact
Pennsylvania is not a “gap” State.

Even after the adjustor handling the claim admitted that Pennsylvania Law
applies, Defendants once again switched and claimed that New York law applies.

Even when a resolution was made between the parties for the underinsurance
matter, NYCM’s representative sent a letter in essence “pulling the rug out from
Plaintiffs” and stating that this settlement would have to be for both the
underinsurance and bad faith case. Plaintiff believes and therefore avers that this was
the continuation of the “psychological warfare” the Insurance Company engaged in
throughout this five year ordeal.

If all of this was not enough, through this litigation NYCM Insurance accused

its Insured of Insurance Fraud, being a “Liar,” as well as committing adultery on his
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wife.
C. COMPREHENSIVE STATEMENT OF UNDISPUTED FACTS AS

AGREED TO BY THE PARTIES

Please see, Plaintiffs’ Proposed Statement of Undisputed Facts attached to
Plaintiffs’ Pre-Trial Memorandum as Exhibit “A”. The parties were unable to reach
an agreement to the same.

D. DESCRIPTION OF DAMAGES

Since Plaintiffs’ current cause of action is Bad Faith against Defendant, NYCM,
Defendant’s valuations of the physical bodily injuries received as a result of the
motor vehicle collision made during the course and scope of Plaintiffs’ underlying
Underinsured Motorist claim, are a relevant consideration in Plaintiffs’ current
action. Also, at issue are Defendant’s valuations of the economic and non-ecomonic
damages, but not limited to Plaintiff's wage loss. These valuations were made
during the course and scope of Plaintiffs’ underlying UIM claim, and are a relevant
consideration in Plaintiff's current action. The same would also be applicable in
regards to Plaintiffs’ pain and suffering valuation.

Moreover, Plaintiffs also testified as to the harms they suffered as a result of

Defendant, NYCM’s, handling of the claim. More specifically, Bernie Clemens

 

* As to not belabor and inundate this Court, Plaintiff refers This Court to the Plaintiffs’ Complaint and
Expert Report from Setcavage, as well as the remainder of Plaintiffs’ Bates Stamped materials.
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testified as follows:
Q. In what ways has New York Central Mutual handling of this claim
caused you harm?
A. With the exception of being called a liar and fraud?
Q. No, those included.
A. You know, the lack of sleep—the —just wanting this—I don’t know

how to explain it...

A. It’s has caused a lot of turmoil between my wife and I.
(Deposition transcript of Bernie Clemens, Plaintiffs’ Bates Stamp 5750-
5944). (See also, Deposition transcript of Nicole Clemens, Bates Stamp
5945-5979).
Plaintiffs claim all damages as testified in their deposition testimony, as
requested in correspondences, requested in the civil complaint and that are
applicable to a Bad Faith cause of action. See also, 42 Pa. Cons. Stat. § 8371(1), (2),

and (3).
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. NAMES AND ADDRESSES OF PLAINTIFFS’ POTENTIAL
WITNESSES

. Bernie Clemens
228 Cays Road
Stroudsburg, PA 18360

. Nicole Clemens
228 Cays Road
Stroudsburg, PA 18360

. Stuart Setcavage

Grant Building, Suite 711
310 Grant Street
Pittsburgh, PA 15219

. Pete Favini, MD

Pocono Medical Center

206 East Brown Street

East Stroudsburg, PA 18301

. Ralf VanDer Sluis, M.D.
Neurology Center

232 Independence Road
East Stroudsburg, PA 18301

. Maurizio Cibischino, M.D.
Mountain Valley Orthopedics
600 Plaza Court, SuiteC
East Stroudsburg PA 18301

. Chief D. Yeager
A Pocono Country Place

1 Country Place Drive
Tobyhanna, PA 18466
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8. AS IF ON CROSS EXAMINATION
VanNess Daniel Robinson
Albert Pylanski
Diane Wildey
James Dvoracek
Joseph Catalano
New York Central Mutual Insurance
1899 Center Plaza East
Edmeston, NY 13335
9. Charles E. Haddick, Jr., Esquire
10. Bryon R. Kaster, Esquire

11.Any and all necessary rebuttal witnesses.

F. SUMMARY OF PLAINTIFFS’ EXPERT WITNESS TESTIMONY
Please see, Plaintiffs’ Expert Report of Stuart Setcavage, attached hereto and

made a part hereof to Plaintiffs’ Pre-Trial Memorandum as “Exhibit B”.

G. SPECIAL COMMENT ABOUT PLEADINGS/DISCOVERY
None at this time. However, Plaintiffs reserve the right to supplement at the

Pre-Trial Conference.

H. SUMMARY OF LEGAL ISSUES AND LEGAL AUTHORITIES
RELIED UPON

1. Bad Faith
(a) Legal Issue: Whether Defendant NYCM breached its duty of good faith

and fair dealing, arising from the insurance contract with Plaintiffs, in the
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handling of the underlying underinsured motorist claim.
(b) Legal Authority

(i)  “[IJn Pennsylvania, a contractual common law duty of good faith
and fair dealing is implied in insurance agreement.” Benevento v.
Life USA Holding, Inc., 61 F.Supp. 2d 407, 424 (E.D. Pa. 1999).

(ii) “Under the duty of good faith and fair dealing, the insurer need only
accord the interest of the insured the same faithful consideration it
gave its own interest; the good faith standard requires that the
evaluation of the case by the insurance company most be honest,
intelligent and objective.” Keefe v. Prudential Prop. & Ins. Co., 203
F.3d 218, 227 (3d. Cir. 2000).

(uli) Pennsylvania’s Bad Faith statute, 42 Pa. Cons. Stat. § 8371 provides:
In an action arising under an insurance policy, if the court finds that
the Insurer has acted in bad faith toward the insured, the court may
take all of the following actions;

(1) Award interest on the amount of the claim from the date the
claim was made by the insured in an amount equal to the

prime rate of interest plus 3%.

(2) Award punitive damages against the insurer.
(3) Asses court costs and attorney fees against the insurer.

(iv) “...Any frivolous or unfounded refusal to pay proceeds of a policy;
it is not necessary that such refusal be fraudulent. For purposes of
an action against an insurer for failure to pay a claim, such conduct
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. After review of Defendant’s proposed Points for Charge, Plaintiffs have
concerns and objections regarding the same.
. In regard to Defendant’s proposed exhibit list, Plaintiffs have agreed to the
authenticity of the documents. However, Plaintiffs have not agreed on the
admissibility of the documents in Defendant’s exhibit list.
. Defendant in its previously filed Pretrial Memorandum raise issues with
Plaintiffs’ employment. One of the determinate issues in this case is what
materials Defendant had at the time of evaluation. Unless Defendant had this
employment information at the time of evaluation, it is not relevant.
Plaintiffs are seeking this Honorable Court to hold a separate hearing in
regards to punitive damages and/ or attorneys’ fees should the jury find in
favor of Plaintiffs.

a. Should this Honorable Court determine attorneys’ fees should be a
determination to be made by a jury, Plaintiffs respectfully request
the jury to determine only if Plaintiffs are entitled to attorneys’ fees
without the specific monetary award determined. If the jury
determines an award of attorney’s fees is appropriate, Plaintiffs
respectfully request the judge to review and determine the
reasonableness as to rate and time of the submitted attorneys’ fees.

b. The same process should be applied to the interest determination.
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imports a dishonest purpose and means a breach of a known duty
(i.e., good faith and fair dealing), through some motive of self-
interest or ill will;...” Terletsky v. Prudential Prop. & Cas. Ins. Co.,
649 A.2d 688 (Pa. Super. Ct. 1994).

I. STIPULATIONS DESIRED

1. The authenticity of the Expert Report/CV of Plaintiffs’ Insurance Expert,
Stuart Setcavage.

2. The admissibility of Plaintiffs’ Statement of Undisputed Facts.

The parties have stipulated to the authenticity of each exhibit referred to in
Plaintiffs’ exhibit list. Whether the parties are able to agree upon the
admissibility of the Defendants’ proposed exhibits depends upon the testimony
presented at time of trial and the purpose for which the exhibits are being offered.
Plaintiffs also request that the parties stipulate to each and every fact set forth in

Plaintiffs’ comprehensive statement of undisputed facts.

J. EXPECTED LENGTH OF TRIAL
Plaintiffs estimate that this case will require 5 to 6 days of trial not including jury

selection.

K. ANY OTHER PERTINENT MATTER

Plaintiffs respectfully submit the following issues:
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c. Should this Honorable Court determine a punitive damage issue
should be a determination to be made by a jury, Plaintiffs
respectfully request a separate second hearing be held in regard to
the punitive damages.

If the aforementioned is not agreeable, Plaintiffs reserve their right to modify

their proposed jury instructions and/or verdict slips to address these issues.

L. PLAINTIFFS’ SCHEDULE OF PRE-NUMBERED TRIAL EXHIBITS

Plaintiffs’ scheduled of exhibits is attached hereto and made a part hereof as
“Exhibit C.” Plaintiffs respectfully request the same be admitted. By way of further,
response, Plaintiffs reserve the right to supplement this response at the time of the
Pre-Trial Conference.

M.SPECIAL VERDICT QUESTIONS

Plaintiffs’ proposed special verdict questions are appended hereto as Exhibit “D”.

N. DEFENDANT’S STATEMENT OF SETTLEMENT AUTHORITY

Plaintiffs defer to Defendant’s Pre-Trial Memorandum as to this specific issue.

O. CERTIFICATE OF CONSULTATION ON DEPOSITIONS
PURSUANT TO L.R. 30.10

Pursuant to L.R. 30.10, Plaintiffs’ Counsel hereby certifies that he will meet with
opposing counsel prior to the start of trial and put forth a good faith effort to
eliminate any irrelevancies, side comments, or objections that are not necessary for

consideration by the trier of fact.
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Date: September 23, 2015

Date: September 23, 2015

Respectfully submitted,
The Pisanchyn Law Firm

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